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                             UNITED STATES DISTRICT COURT                         OCT 2 3 Z02O
                             EASTERN DISTRICT OF VIRGINIA
                                      Norfolk       Division                CLERK, us. DISTRICT( .
                                                                                    NORFOLK. V ^
 UNITED STATES OF AMERICA


 V.                                                                      Criminal No. 2:20cr59-1


 BRIAN TAYLOR SUMNER,
                         Defendant.

               Video or Telephone Conferencing Order for Criminal Proceedings


         In accordance with Case No. 2:20mc7, Gen. Order 2020-09, this Court finds that the

  Defendant, after consultation with counsel, has consented to the use of video or telephone

  conferencing to conduct the preliminary criminal proceeding(s)to be held today, as authorized by

  § 15002(b)(1) of the CARES Act. ^ CARES Act, H.R. 748, 116th Congress (2020).                    As

  previously found in Case No. 2:20mc7, such preliminary criminal proceeding(s)fall(s) within the

  class of proceedings that should not be materially delayed in light of the ongoing

  COVID-19 pandemic. The Chief Judge authorized the use of video conferencing and telephone

  for such proceedings by General Order entered March 30, 2020.         Case No. 2:20mc7; Gen.

  Order 2020-09. The criminal proceeding(s)to be held on this date may be conducted by:

   ^       Video Teleconferencing
           Teleconferencing, because video teleconferencing is not reasonably available for the

  following reason(s):

                 The Defendant is detained at a facility lacking video teleconferencing capability.

                 Other:
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        It is so ORDERED.




                                                         IsL
                                                DOUGLAS ErMIIXER,
                                          UNITED STATES MAGISTRATE JUDGE
 Norfolk, Virginia
 October 22,2020
